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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

 UNITED STATES OF AMERICA                         *     CRIMINAL NO. 16-0072-02


 VERSUS                                           *     JUDGE ROBERT G. JAMES


 AARON THOMAS                     * MAG. JUDGE KAREN L. HAYES
 a/k/a AARON A. THOMAS
 a/k/a AARON M. THOMAS
                   REPORT AND RECOMMENDATION ON
  FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Upon reference of the District Court pursuant to 28 U.S.C. § 636(b), and with the written

and oral consent of the defendant, this cause came before the undersigned U. S. Magistrate Judge

on June 15, 2016, for administration of guilty plea and allocution of the defendant Aaron Thomas

under Rule 11 of the Federal Rules of Criminal Procedure. Defendant was present with his

counsel, Mr. Mennon Campbell.

       After said hearing, it is the finding of the undersigned that the defendant is fully

competent, that his plea of guilty is knowing and voluntary, and his guilty plea to Counts Two

and Three of the Indictment is fully supported by an oral factual basis for each of the essential

elements of the offenses. In addition, both the government and the defendant have waived their

right to object to the report and recommendation. Accordingly,

       IT IS RECOMMENDED that the District Court ACCEPT the guilty plea of the defendant

Aaron Thomas in accordance with the terms of the plea agreement filed in the record of these

proceedings, and that Aaron Thomas be finally adjudged guilty of the offenses charged in Counts

Two and Three of the Indictment.
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       IT IS FURTHER RECOMMENDED that the District Court ACCEPT defendant’s

agreement to forfeit and abandon any claim or interest he may have in the firearm(s) and property

described in the Indictment.

       IT IS FURTHER RECOMMENDED that, pursuant to the parties’ waiver of their right to

object, that the District Court immediately adopt the report and recommendation without passage

of the customary delays.

       In Chambers, at Monroe, Louisiana, this 15th day of June 2016.



                                                    __________________________________
                                                    KAREN L. HAYES
                                                    UNITED STATES MAGISTRATE JUDGE
